  Case: 2:19-cv-04675-ALM-CMV Doc #: 1 Filed: 10/22/19 Page: 1 of 6 PAGEID #: 1




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


ESEROMA CAKACAKA                              )       CASE NO.:
53 Oakland Avenue                             )
Uniontown, PA 15401                           )
                                              )       JUDGE
and                                           )
                                              )
SERUWAIA CAKACAKA                             )       COMPLAINT
53 Oakland Avenue                             )
Uniontown, PA 15401                           )       (Jury Demand Endorsed Herein)
                                              )
               Plaintiffs,                    )
-vs-                                          )
                                              )
ARROWS UP, LLC                                )
c/o its Statutory Agent                       )
CT Corporation System                         )
4400 Easton Commons Way, Suite 125            )
Columbus, OH 43219                            )
                                              )
               Defendant.                     )
                                              )

       Now comes Plaintiffs, Eseroma Cakacaka and Seruwaia Cakacaka, by and through their

attorney, and for their Complaint state as follows:

                                            PARTIES

       1.      Plaintiff, Eseroma Cakacaka, is a resident of 53 Oakland Avenue, Uniontown, PA



                                                  1
  Case: 2:19-cv-04675-ALM-CMV Doc #: 1 Filed: 10/22/19 Page: 2 of 6 PAGEID #: 2




15401. At the time of the incident giving rise to this Complaint, May 9, 2019, Plaintiff, Eseroma

Cakacaka, resided at 231 Bigham Street, Pittsburgh, PA 15211.

       2.      Plaintiff, Seruwaia Cakacaka, is a resident of 53 Oakland Avenue, Uniontown, PA

15401 and at all times relevant herein is the wife of Plaintiff Eseroma Cakacaka. At the time of

the incident giving rise to this Complaint, May 9, 2019, Plaintiff Seruwaia Cakacaka resided at

3944 Mayette Avenue, Apt 1, Santa Rosa, CA 95405.

       3.      Defendant Arrows Up, LLC (“Arrows Up”) is, upon information and belief, a

foreign limited liability company organized and existing under the laws of the State of Colorado,

with its principal place of business located at 252 Clayton Street, Denver, CO 80206. At the time

of the incident giving rise to this Complaint, and at all times relevant hereto, Defendant Arrows

Up operated and/or utilized hauling, containment, processing, and other types of storage and

transportation equipment to deliver and utilize sand in the oil and gas business, through its

employees and/or agents, in Ohio, specifically Jefferson County, Ohio at the Omaits SMF JF

property.

                                         JURISDICTION

       4.      This Honorable Court has jurisdiction with respect to the claims set forth herein

pursuant to 28 U.S.C. § 1332, in that diversity of citizenship exists between all the parties and the

amount in controversy exceeds $75,000.00.

                                              VENUE

       5.      Venue is proper in this District and Division under 28 U.S.C. §1391(b)(2) in that

the tortious conduct at issue occurred in this District and Division.




                                                  2
  Case: 2:19-cv-04675-ALM-CMV Doc #: 1 Filed: 10/22/19 Page: 3 of 6 PAGEID #: 3




                                  FIRST CLAIM FOR RELIEF

       6.      The preceding paragraphs are hereby realleged as if fully stated herein.

       7.      On or about May 9, 2019, Plaintiff Eseroma Cakacaka was on the premises of the

Omaits SMF JF property (“subject premises”), located in Jefferson County, OH while working

for FTS International. Upon information and belief, the subject premises is operated by non-party

Ascent Resources Utica LLC.

       8.      On or about May 9, 2019 and at the subject premises, and upon information and

belief, Defendant Arrows Up’s agents, servants, and/or employees negligently, carelessly, and/or

recklessly operated and/or moved a crane directly into Plaintiff’s body, striking his leg and

crushing him. Further alleging, Defendant Arrows Up, by and through its employees, agents and

servants, were negligent in other respects to be proven at trial.

       9.      As a direct and proximate cause of the above-mentioned acts of negligence,

recklessness and wrongful conduct of Defendant Arrows Up, by and through its employees

and/or agents, Plaintiff Eseroma Cakacaka was caused to suffer serious and permanent injuries to

his body, including but not limited to, multiple displaced fractures to his left leg, resulting in

bone removal, skin grafts over a large majority of his leg, amongst other injuries, causing

conscious pain and physical suffering, and an inability to engage in his usual activities.

       10.     Further, Plaintiff Eseroma Cakacaka’s injuries are of a permanent nature and have

resulted in permanent and substantial physical deformities as those terms are used in O.R.C.

2315.18(B)(3)(a).




                                                   3
  Case: 2:19-cv-04675-ALM-CMV Doc #: 1 Filed: 10/22/19 Page: 4 of 6 PAGEID #: 4




        11.     As a direct and proximate result of Defendant Arrows Up’s tortious conduct, by

and through its agents and/or employees, Plaintiff Eseroma Cakacaka was caused to seek

necessary medical care and attention, and, in all likelihood, will be forced to seek additional

medical care and treatment into the indefinite future all to his financial expense. Specifically, Mr.

Cakacaka was hospitalized at UPMC Montefiore in Pittsburgh, PA for over one (1) month

requiring multiple surgeries and then subsequently admitted for in-patient medical treatment at

ManorCare Health Services-Greentree in Pittsburgh, PA.

        12.     As a further direct and proximate result of the above-mentioned acts of negligence

by Defendant Arrows Up, by and through its agents, servants and/or employees, Plaintiff’s ability

to incur sufficient earnings and wages into the future have been compromised as a result of this

incident, all to his financial detriment.

        13.     As a further direct and proximate result of the above-mentioned acts of negligence

by Arrows Up, by and through its agents, servants and/or employees, Plaintiff has suffered out-

of-pocket expenses and other incidental damages.

        WHEREFORE, Plaintiff Eseroma Cakacaka prays for judgment against Defendant

Arrows Up, LLC for an amount in excess of Seventy-Five Thousand Dollars ($75,000.00),

together with interest, costs, attorney’s fees, and such other and further relief as this Honorable

Court deems just and equitable.

                                 SECOND CLAIM FOR RELIEF

        14.     The preceding paragraphs are hereby realleged as if fully stated herein.

        15.     Plaintiff Seruwaia Cakacaka is and was at all times herein the wife of Plaintiff




                                                  4
  Case: 2:19-cv-04675-ALM-CMV Doc #: 1 Filed: 10/22/19 Page: 5 of 6 PAGEID #: 5




Eseroma Cakacaka.

       16.     As a further direct and proximate result of the above mentioned acts of negligence

by Defendant Arrows Up, by and through its agents and/or employees, Plaintiff Seruwaia

Cakacaka was caused to lose the love, affection, consortium and/or other services of her husband,

Plaintiff Eseroma Cakacaka, all to her detriment.

       17.     Plaintiff Seruwaia Cakacaka further states that as a result of her husband’s

injuries, she has incurred expenses, including but not limited to medical expenses, which sums

shall be made more definite at the time of trial.

       WHEREFORE, Plaintiff Seruwaia Cakacaka prays for judgment against Defendant

Arrows Up, LLC for an amount in excess of Seventy-Five Thousand Dollars ($75,000.00),

together with interest, costs, attorney’s fees, and such other and further relief as this Honorable

Court deems just and equitable.



                                               Respectfully submitted,

                                               /s/ Jordan D. Lebovitz
                                               ____________________________________
                                               Jordan D. Lebovitz, Esq. (0091247)
                                               Nurenberg, Paris, Heller & McCarthy Co., L.P.A.
                                               600 Superior Avenue E., Suite 1200
                                               Cleveland, Ohio 44114
                                               Phone: (216) 621-2300
                                               Fax: (216) 771-2242
                                               JordanLebovitz@nphm.com

                                               Attorney for Plaintiff




                                                    5
Case: 2:19-cv-04675-ALM-CMV Doc #: 1 Filed: 10/22/19 Page: 6 of 6 PAGEID #: 6




                                    JURY DEMAND

    A trial by jury is hereby demanded on the within action.



                                                 /s/ Jordan D. Lebovitz
                                                  __________________________________
                                                 Jordan D. Lebovitz, Esq. (0091247)
                                                 NURENBERG, PARIS, HELLER &
                                                 McCARTHY CO., L.P.A.




                                            6
